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17
            IN THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
18
                           DISTRICT OF CALIFORNIA
19
       WAG ACQUISITION, L.L.C.                  Case No. 2:19-cv-07076-JAK-GJS
20                                              [Honorable John A. Kronstadt]
21                            Plaintiff,
22     v.                                       REQUEST FOR CONTINUANCE
23
       MULTI MEDIA, LLC,                        [Proposed Order Filed Concurrently
24                                              Herewith]
25                            Defendants.
26
27
28
                                    REQUEST FOR CONTINUANCE
     99123236_1
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 1           Plaintiff, WAG Acquisition, L.L.C. (“Plaintiff” or “WAG”) and Defendant,

 2   Multi Media, LLC (“Defendant” or “Multi Media”), by and through their respective

 3   attorneys, hereby jointly request continuance of the below due dates. The change of

 4   dates is essential to allow both parties to evaluate the proposed terms for claim

 5   construction. Due to complications related to COVID-19, it has been more difficult to

 6   consult with experts, which has necessitated this continuance. The parties are in

 7   agreement regarding the below changes, which will not impact any other dates in the

 8   schedule. A proposed order is attached herein pursuant to Exhibit A of Standing

 9   Orders for Civil Cases Assigned to Judge John A. Kronstadt.

10    Date                                       Item
11    [October 30, 2020]                         Parties to exchange proposed terms for
      October 26, 2020                           claim construction
12    [November 23, 2020]                        Deadline to exchange proposed
13    November 9, 2020                           constructions and evidence for
                                                 Markman
14    [December 2, 2020]                         Deadline to file joint Markman pre-
15    November 18, 2020                          hearing statement

16
17    DATED: October 26, 2020             RITA M. HAEUSLER
                                          HUGHES HUBBARD & REED LLP
18
19                                        RONALD ABRAMSON
                                          ARI J. JAFFESS
20
                                          DAVID G. LISTON
21                                        ALEX G. PATCHEN
                                          MORD MICHAEL LEWIS
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                                          LISTON ABRAMSON LLP
23
                                          By:/s/ Rita M. Haeusler
24
                                                           Rita M. Haeusler
25                                          Attorneys for Plaintiff/Counter-Defendant
26                                                 WAG ACQUISITION, L.L.C.

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 1    DATED: October 26, 2020            FRANK M. GASPARO
                                         RALPH A. DENGLER
 2                                       ANDREW P. MACARTHUR
 3                                       SARAH S. BROOKS
                                         VENABLE LLP
 4
 5                                       By:/s/ Sarah S. Brooks
                                                         Sarah S. Brooks
 6                                         Attorneys for Defendant/Counter-Claimant
 7                                                    MULTI MEDIA, LLC
 8
     *Counsel for WAG Acquisition, L.L.C., Rita M. Haeusler, hereby attests that
 9   concurrence in the filing of this document has been obtained from each of the other
     Signatories, which shall serve in lieu of their signatures on this document.
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